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                   Exhibit A
               Case 2:10-cv-03633-ODW-RZ                                    Document 334-7                      Filed 10/24/11                                 Page 2 of 15 Page
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                                                                             "`                                                        ^
   J     ^            ?aR' i            i                                                     .^    ,..     -   ^^                                     ^ ^^J^2T USE C7NLY
                                                      ^I ^/    '^'v''Jl)          ^.^ 1 ^^ ',^9^ '1'.':11
 _Jt^HN D. PETT^<I F:, L=sq. (^;É;N ^_ s-1 ι ^,}
   RÓD1, PßLLOCK, PETTKER, GALI^^?AITH ^ CANILL
   A Law Corporation                                                                                                         ^ í      '^ ,
   444 South Plower Street, Suite 1 X00                                                                                     ^ ^ ^ . L .. + - -
                                                                                                                            )_'
   Los Angeles , California 90071 -2901                                                                         ^ S At^tGElr¡ ` ti υ ^^ u.'SßK C^^^T
 ,4T70RNËY εΡÓR Name ; MARK WARREN ^?EARY                                                                                                            }      `
  SUPERI O R C OURT O F CALIFOR NIA ; COUNTY OF Los Angeles                                                                       1λ 1.              J ^„Ui} J
                                                                                                                                    ^}
         s^Rεε^ a^^Rεss_ 111 N. Hí11 Streét                                                                                                                             ^^
         ^a^uNOanoRess : 111 N . Hí11 Street                                                                             JAHN /^^ ^^^^=
        G^^Y ANO ziP c^O^: Los Angeles , CA 90012                                                                                                                  ''
              BRANGH NAME:     Central Dlstrlct                                                                           ^^ E,                   ^^^E^^           r^ '4
  ESTATE of (tvame}: JOSEPH SHUSTER , also k^^^wn as JOE                                                                                                                                    '
          SHUSTER
                                                       jl^^ s t                                      ^ECED^N^
                                   ^Ç__) Probate of Wí11 and for Letters Testamentary                                case Nu^e^^^:
   PETITION FOR                    ^ Probate of Wí11 and for Letters of Administration                                                        ^^^^_^^^ __
                                         with Will Annexed                                                           HεΡ^R^^c ^A^F,.
                                                                                                                                  J
                                         Letters of Admïnïstratíon                                                           t, λ ,          ^^ fem,
                                         Letters of Special Administration                                                   ;^ /                        ^ `^
                                            Authorízatïon to Administer Und^e`rη the Independent                     °EP7-                                      ^^^^:               .-r
                                                                                                                              ^^
                                            Administration of Estates Act ^_^ I with limited authority                                                                  ^ ' ^}
1. Publication will be in (specify game ^fnewspaper): DAILY JC}URNRL
   a. CX _^ Publication ^equest^d.       b. ^ Publication to be arranged.
2. Petitioner (name of each):        MARK WARREN PEARY                                                                                                                           requests
       a. i^J decedent's will and codicils, if any, be admitted to probate.
       b. _X^ (name):   MARK WARREN PEARY
              be appointed {1 } ^ executor                                 (3} ^¡ adrninistrator
                           (2} ^^ adminïst^ator wïth will annexed          (4} L^ special administrator
           and Letters issue upon qual^ficatían.
   c. _X ^ that (___^ full !,^ limited      autho ^ ty be granted to administer under the Independent Administration of Estates Act.
   d. (1} ^ bond not be ^equíred far the reasans stated in item 3d.
      {2} ^ $                       bond be fixed. It will be furnished by an admitted surety insurer or as otherwise provided by law.
                (Spec^ry reasons ^^ Attachment 2 ^f the amount ís different from the max/mum req^red by P^bate Code sect^an 8482.)
             (3} '^ $                              in deposits in a blocked account be allowed. Receipts wí11 be filed. (Specify ínstítut^on aid location):

3. a. Decedent died on (dafe): July 30, 199 2      at (place):                         West Los Angeles, California
      (1} ^^ a resident of the county naméd above.
             (2}    ^ a nonresident of California and left an estate ín the county named above located at (specify location perm^tt^ng
                         pubtícatíaπ ^n the newspapernamed i^ item 1):
   b. Street address, city, and county of decedent's residence at Time of death (specify):                        11944 Montana Avenue #305, West Los
      Angeles, County of Los Angeles, California 9 0049
   c.        Character a ^d estimated value of the property af the estate:
             (1} Personal property:               ^          None
             (2} Annual gross income from
                   (a} real property:                    $           None                                                                                          ^' '"
                                                                                                                                                                   rri a:« ^,
                                                                                                                                                                           ^- ^^"n `'^
                                                                                                                                                                                   ^
                   (b} personal property:                ^           None                                                                                          ^ ^'rÿí ^ ^w.' c`^
                                                                                                                                                                                    ^
                                    Total:               ^           None                                                                  r- ¡
                                                                                                                                                                   r^i ^ ^= -+
                                                                                                                                                  ^ ^ +..'.    ^7 .;^ ,^  ^ ßr7
             (3} Real property: ^ None                               (If futt authority underthe lndepe^de^ tAdmínistraf^orx^pfsØte^R ^t fs r^u^sféd,
                                                                     state fhe fair market value of the real p^aperty less e^cι ^bra ι^es.) ^     x                        c^+
  d. (1)           0 Wí11 waives bond.             Special administrator is the named executor and the wí11 waives b2fnd.      -' `' `^; ^^
                                                                                                                                  ^_í ^ _^.
     (2)           [^ All beneficiaries are adults and have waived bond, a ^d the will does not require a bond. (A^x waver as^tt^c^^.in^^rt
                      ßd(2).)                                                                                              .,
                                                                                                                          Γ.Y     ι..ε w• ι^-
                                                                                                                          .u            ^t7 I" 1
                      All heí^s at law are adults a ^ d have waived bond . (Affix waver as Attachment ßd(3).)             ^.η     ,-,
                                                                                                                          ^,      r.,.a ^.., ι-,
                      Soie personal representative is a corporate fiduciary ar an exempt government agency.                             .^:^ ^^2
  e.                      Decedent died intestate.                                                                                                                         ^:^
                                                                                                                                                          ^: "_
                          Copy of decedent's will dated: 6!28/19 88          ^ codicils dated:                                     are affixed as Attac^^^iiënt ße(2}.
                           (^ The will and all codicils are self-proving (Prob. Code, § 8220).
                                                                     (Continued on reverse)
       rorm^P^Ved^yme                                             PETITION FOR PROBATE                                 I.,ØdI                                            ° §§ 8002, 1Ø5O
                                                                                                                                                              Probate Cod_,
 Judicial Coúx^cil of Galdornia
^εΡ-111 jRev;:^la^uar^ ^, 1^s^[                                                                                  SO^üi~l ^S"
  Ma^tlatory Use [1/1/2000]                                                                                        Ø PUS




                                                                                   EXHIBIT A
                                                                                     4
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                                              ID #:22028




               Ín the Matter of the Estate of' J(7SEP^I SHU^TEIR, Øe^:edent
             Eos Aneles Connty, Calífornía, Superïor Court -Central Dístr^et


                                      ι^TTι^CHME1^tT 2c
                                   Repue^ted 4ddítíonal P ^wer


                   l.' ^^^t^^sted ^cïditiç^nal Power
                  P^:^ i ^ i^^ner r^^ue^^s that the court grant hïm the following power ^^ addition
   to thé general jio^ ers conferred upon hirr^ by law and under the Independént
   Administration al f ^a^a^^s Act: the power to terminate prïor transfers ^^f the decedent`s
   copyrigf^t(s) p^rsuunt to Section ^3(l4(e} of the Cnited States Copyright Act, 17 U.SC.
   ,^30^(c)(2)^D), and ta maintain and defend ^^n behalf of the decedent and the estate all
   pr^ce^'^^^^^<_^.,^ n^cessar^ or ap^^ropriate in connection with this action.




                                                EXHIBIT A
                                                  5
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                                                ID #:22029




                    Yn the Matter of the Ostate of JC?SE^'^I HHUT^R, Decedent
                  Los Angeles County, California, Superior Court -^- Central hJistríct


                         ATTACf3[MENT 2d{1}, ^{c} aná 3{d){1}, {2) ιι ^ εl {^)

          I`^a bond should be required of petitioner to act ^ ^ I ^: ^^ ^ c utor, or íf a bond ís
   required by the Court, it should be for á nominal amount, for tl^c Iollowing reasons.

           L      The first Warned Executor, Jean Adele T'• °; ^ vy, h u ^ ; í smed and fled a
   Declir^atian to Act as Personal Represen^^^t^ve ánd Waive ul l,ond of Mark Warren
   Peary as Personal Representative. Jean Ade1c Peavy, who is the sister of the decedent, is
   also the sole benefïcíary under the dec^^tc^t's Wíll and the sole heir aí law of the
   decedent's estate under the laws of intestacy.

          2.      Petitioner ís the alternate named )^;s^^^cutor under the decedent's Wi11, and
   the decedent's Will waives bond.

          3.          Petitioner, who is the son of lean Adele Peavy, is the nephew of the
   decedent.

           4.      A probate proceeding with respect to the decedent's estate would be
   unnecessary but for the fact that a personal represéntative of his estate needs to be
   appointed for tl^e purpose of terrnínati^g prior transfers raf the decedent`s copyright(s)
   pursuant to Section ,^304(c) of the United States Copyright net, I7 U.S.C. ^304(c)(2)(I^).
   This right of the personal representative of the décedent's estate to terminate prior
   transfers of the decedent's c^pyríght{s) was enacted into federal law as part of the Sonny
   Boni Copyright Act effective October 21, 1998. The purpose of such new law, enacted
   aver six years after the decedent's death, ^^ to give authors and théír estates tl^e power to
   recover previously assigned capy^ ghts within time lïmíts dél^neated in the stat^^te.

          5.      All assets of the decedent, with the exception of the decedent's interest ín
   and to the e^^pyrights, which c^^rrently have an undetérmined válue, were of minimal
   value and transferred through a § 13101 affidavit by Jean Adele Peavy shortly after the
   decedent's death on July 3 ^, 1992.

   Dated:         ^^^ ^ ^/     ^ ^^     , 2003




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                                                  EXHIBIT A
                                                    6
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                   ^n the Matter of the l^;sta[e of,I^JSEPH SHUSTET^, Decedent
                 Los Angeles County, Califurnia , Superior Court -Central Distrïct


                                        ATTACHMENT 3e(2)
                                   (Z^ast) Last Wíll and Testament

                    ^ ^^^^^u7ds ±^^^^ ^1^^^^^s,,ít^^ ^^t^ 1 ^,^ Will
                     1 ^ ^ c d^ cedent died more ^ l r ^ ^^ 10 yéars ago o ι3 July ^ ß, 1992. Petitioner
   and athc^^ ^^^u^^ly members have made a diligent and extensive search for the original Will
   executed by the decedent on June 28, 1988, but have been unable to find it. Petïtïoner
   has only found a copy of such Wï11, which he is sub^x^itting for probate as the decedent's
   lost Will. Petítïon^;r believes that the o^ïginal of such Will has been lost or inadvertently
   déstroyed. There would be no reason for the decedent to háve revoked such Wi11 by
   destroying it, because the terms of the Will replicate the result íf the decedent died
   intestate. Under both the Wí11 and the 1a^vs on intestacy, petitioner's mother, Jean Adele
   Peavy, who is the decedent's sister and sole surviving heir at law, would be the sole
   beneficiary of the decedent's estate and, but for her declïnátïon to act, would be entitled to
   be appointed personal representative. Furthér, under both the decedent's 1äi11 and the
   laws of intestacy, by reason of the declïnatïons to act that háve been isled concurrently
   with this petition, petitioner is entitled to be appointed personal representative.

                      The decedent never married and never had any ïssue.




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                                                    EXHIBIT A
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  ^^^




                   Datsd




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I^AIOW A1L I'EI250N^ BY T^-iE^E PRESIa^+ITS;
That, ^   JCIEPH SHUSTER
of               ^            Gl . h_o_^, , ^^ι:^^_2es, ^a1^.^er^^^^.a ^F                          .
being of sound and dispös^ng mind and memory, and nöt acting under duress, menace, fra^.ic^ or the
undue influence of any peson whömsoever, dö make, publish and declare this my Last Wí11 and
Testament.                                                                     ^     '
                                                            I.
  I herei^y declare that I am the          brother                  of JEAN^F PF:AV`^




at the time of the execu#ïan of this Will.
                                                           IL
 I make ^o bequest , gift or devise tØ my children named in Paragráph I, or to any other child o^
^híldrén hereafter born to or adopted by me, except as hereïnafter stated, knowing their
        ^Ì^^                      will provide for them.                            ,
        (mother, or fuihe^                                                                                   -   '

                                                          it
  I hereby direct aid order that all just debts for which proper claims are filed against my estàte,
and the expenses of my last illness and funeral, be paid by my execut ri X as soon after my death
as ís practicable; provided, however, that this direction shall not authorize any creditor t'o require
payment of any debt or obligation prior to its normal maturity ín due course.
                                                          I V.
  I give, devise and ^^queath unto                 JEAN A.^EZF L'FAVY                all of the rest, residue and
remainder of my estate, whether real o^ personal, aid wheresoever situated. In the event that
     Jean Adele Peary                                     shall predecease me, or ^^ the event that both
     Jean Adele Peay                            and I shall die as a result of a common accident, illness or
disaster, then I give, devise and bequeath the residue and remainder of my estate to my nephe^^, (:
     ^!IARK
      .     WARREN PEARY                                                                                                 `1•

                                                           V.
  I hëreby nominate and appoint my s.^ ^1:Rr                               ^' Jean. Adele Peaty-                     ,
exec^^t^'í ^ of this my Last Wí11 and Tesia ττle ^ t, tó aFt withoùt ^árid . 'n the. event that my
  sifter ,                   , is,fór: any reason:unable,or unwíliiiig to aci as executr.:^_x__hereof, I nominate
and ^;ppoint ''^             Mark Warren Peá^^y                ^^                             ^ ^        to act as
execul^r _. also without h^_^.d.                                  ι ^ ιι




                                                                 EXHIBIT A
                                                                   9
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                                                 V^I; `
        her direct that my estate be settled wïth`aut the intervention of any court , except ta the
extent requireel by law, and thàt my execut.^..ï^._ settle my estate ïn such a mánner as shall seem
best aid mast canvenïently to        ^_..^,.and I hereby empower my executrí.,κ__ to rr^artgage, lease
sell, exchangé and Canvey the pe^sanal áñd real property of my estate without an order of court
fir that purpose and wíthout natïce, approval a^ confïrr^ïatïon aid ïn all other respects to admínï-
ster and settle my estate wïthaut the intervention of court..




                                                                                                  . ? τ^ τ




                                                   EXHIBIT A
                                                     10
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                                                                    Vil.                    ^^ _ _ ^                         ^ 'x
  I hé:^^6y revoké any anç^ ^^l f^ rmer Wí1ls and Codícils thereto ^Yade by me and declare this my
Z.ast ^^lrll and 1 ^^°;1 ^^^^ent^
   In Witness Wher^^^^f I have hereunto set my hand this __`^`^ ^ day af




       ι:.
^TAT)^ C7F CAL^IF ^1RNIA
     ; ",
Cau ^ ty a
                                                                                                                                                        i1
   Each of tt-h-e^ undersigned, being first duly sworn on ^^ath, states that on this                                                                    ιι
                                                                                                                                       ^ day af


   (1}lam over the age of eighteen (18} years and competent to be a Witness to the Wíl1 of
        JOSEPH SH^JSTER                             •''                  (the Testaïo^.._);
  (Z} The Testatc^^ , in my presence a ^ d in the presence of the other Witnesses whose signatures
appear below:
        (a) Declared the foregoing instrument cansístï^g of nn^^                                        pages, of which this ís the last
            to be hip      Wí11;
        (b) Requested me and the other Wít^esses ta aci as Witnesses to h i^                                                        Will a ^d to make
            thïs affidavit, a ^ d
        (c) Sïg^ed such i^sirume^t;
  (3) I believe the Testat ^r   to be of sound mind, and that ín so declaring a ^ d signing, hP
was not acting under anÿ duress, me^^ä^e,-frond; o^^ undue ïnfluence;- -
  (4} The other witnesses a^ d I, í^ the presence of t`he Testat ^r                                          a^d af each other now affix
our signatures as Witnesses tó thé Will and make thí,a affídav^tt:                                                 -



Wit-τ ^ ss              ^                                                 ^W't
  ^^ ^^
     ^        C^`U2f`^t,^^-^µ ^ ^`e.. ^^                                           υ ^`f^-^ ^7°^`A^^.^ ^ (1
                                                                                c.i^
Add^ss ^                                                               ^ Add r e ss                                    1                            ^
                                                                                                        ςς
                                                                                                                                           ?^ δÚ^
                                                                                   ff        ^                                       t
     ^ t^-                                Ø^ ^                                    f' ^t-^ '^ λt rCς^λ ^ ^ ¡           c ^b rt i,.ι t :6
                                         ι ιι ^ i11t ε I ιι.ι; ^ ^; ι t ι.ι . .,1 , . .1.ι; ^ ,τ. r,-li _.. . ..   ^¡ t ιι
                                                                  :.^, ^ ..,.
                            Witness

                            Address




                               ^r^^saèt^^+r
                               o^Fι+vιaι sεa ι _.
                          F. PATRICI{ HAGERTY
                         NOTARY PUBLIC-CAUFORNIA
                            PR1N1ClP0.4 OFFtC Σ; ^iN • - ^
                            LO5 ANGELES COUNTY
                       mission Expíres Apríi 23, I99
                            ^^+s++




                                                                          EXHIBIT A
                                                                            11
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                       Ín t1 ^ c ^^latter of the ]^' ^ tate ι^Σ etti l^.i'l1 S^^TER, Deeedent
                  ][^,πs Λ ^,^elcs County> CaCïfornia, Sup ε^ ^íαr Cε^ιxrt - Central DíStrïct


                                                1TT^1C11;^i1{;.Λ^T ^^ ^
                           l^π nre^i ^^e ^^^t π1' ('alifπ r ^ i^ι υ n λ 1 'er ^ι anerιt Addre55

          I, Mar^ Warren PØary, the prupυsc ι^ ^,ιι^^^-, ι^ ι ^ι1 rcp^c^entative, am a no^-reside^t of
   Calïfarnia. f resïde ín the State af New ^lcxica at the 1u11awínØ reside^ce address:

                                                  51 Camino Cabo
                                                Santa Vie, NM 8750$

          I hereby ca^sent to act as the personal representative af the estate af my uncle,
   Joseph Shuster.

   Dated^            _...ì ^ ^ 1: ^'   (^,̀`^    , 2003




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                                                           EXHIBIT A
                                                             12
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                      In the ^^latter of the Estate of JOSEP^I SHUSTEi2 , Decedent
                    Los 1rt;.;clc,^ County, California, Superior Court -Central District

                                            ATTACHIØNT 8

    The failawing ïs á lïst af the names, relatïonshíps, ages , and addresses, s^ far ^^ knawn to
    ar reasonably ascertainable by petitioner , af (1) all persons naØed in decedent's will and
    codicils, whether lïving ar deceased , (2} all persons named ar checked ín items 2, 5, 6,
    and 7, and (3) all beneficïa^es öf ^ Øvisee trust in whíeh the trustee and personal
      }^rc,^ c ^^ ^ átive are the same persen:

    Name and. Address                                ^Relationshii^                        ^

    Mark Warren Peary                                Petitiöner^Nephew                     Adult
    51 Camino Caha
    Santa Fe, NM 87S0ß

   Jean Adele Peavy                                  Sister                                Adult
   ^ I Camina Cal^ö
   Santa Fe, NM 87508

   Dawn L. Peavy                                     Níece                                 Adult
   11405 Lake Nemi
   El Pass, Texas 74936




   ^^ ι sa^_1.aoε




                                                     EXHIBIT A
                                                       13
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                  1   RODI. P ΠI I OC`T^, T'ÉTTKÉR, GALBR^ITΣ-I
                      & C;^ι 1 ^ I1. F.. A L^ ι ι^ Corporation
                  2   JOI 1 ^^ 1). 1' 1^a ^ 1^111 ^ 1^(S$N 42346)
                      444 ^o ιιι l ι 1 ^lu ιτ cι 5 treet, Suite 1700
                  ^   Los ,1 n^^ ι:1 c;, California 9007 ^-2901
                      Telephc>^ c: (2^3) 895-4900
                  4   Pacsimi 1 ^ ^{21 ^ ) 395-4921

                  5
                      Attorneys for MARK. WARREN PËARY
                  6

                  7
                                            SUPERIOR COURT OF THE STATE OF CALIFORh^IA
                  3
                                              F'OR THE COÚNTŸ OF LOS ANCÉI_^ES, CENTRAL
                  9

                10
J
J
                11                                                       CASÉ NO.
_<t    a
       ^ ^
                      In re the Matter of the Estate of                                     ^^
ü      ^^
       ^
         ^
Ø
^
       ^ ^      12
H
z^^_.^,^„                                                               DECLINATIÓN TC} ACT AS PERSC}NAL
ma ε-=d^        13                                                      REPRESENTATIVE AN^J WAIVER OF BOND
^^^^ φ                    JOSEPH SHUSTER, also known as                 OF MARK. WARREN PEAKY AS PERSONAL
^a ^ °^ 14
ιu ^                      JOE S Σ-IUSTER                                RÉPRESENTATNE
^ ^ ^^z
^ ^^ ^
o-g° ^ á        15
Y Q^-^ ^
CJ
   Z W tW-
°      ^z       16
©      od
^ ^ uι
   ^                                                      Decedent.
s ^ -'          17
0
^
                18
                              I, JEAN ADELE PEAVY, state as follows
               19
                              1.      I am the only sibling of the decedent, JOSEPH SHUSTÉR. The decedent"s and my
               20
                      parents are both deceased, having predeceased the decedent. I have two children, both of whom
               21
                      survived the decedent. They are Marlc Warren Peary and Dawn L. Peavy.
               22
                             2.       I am the sole beneficiary under the decedent's Vt'ill dated June 28, 1988, and am
               23
                      nominated to act as Executor under such Wí11.
               24
                             3.       I hereby decline to serve as personal representative of the decedent's estate, whether
             -;25
                      as Executor of the decedent's Wí11 or Administrator of his estate.
             ^^^2^
                             4.       I hereby waive the requirement of a bond by Mark Warren Peary, whether acting as
             _>; 27

             ^^ 28

                       DECLINATIQN TO ACT AS PERSQNAL R^PRESEN^ATIVE AND WAIVER OF SOND OF ^L42K V^ARREN PEØY AS PERSONAL
                                                                REPRESENTATIVE




                                                                  EXHIBIT A
                                                                    14
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                                                                                  2
                                llECL1NATÍON TO ACT AS PERSONAL REPRESENTATIVE AND WAIVER OF BOND OF MARK WØREN PEØY AS PERSONAL
                                                                          REPRESENTATIVE




                                                                            EXHIBIT A
                                                                              15
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                    1   RODI, POLLOCI^ _ PE"1 TKER, GALBRAITΣI
                        & CAHILL, A Law Corporation
                        JOI-IN D. PE^`1^ K 1^:1: f^ BN 42 ^ 4^^
                        444 S^uth fl^wer Strc ι t, Suite 1700
                3       Los t^ιι rrclc;. Ca1^Ii^rτ^ ^ ιι 90071 -?901
                        Te1e^>h ι ^nc: Γ213) 895 -4900
                4       I^^tc^,i ι nilc: (? 1 >} 895-4921

                5       Att^rl^e^s lì^r MARK WARREN PEARY

                6

                7

                8                                SliPERIOR COURT OF THÉ NATE OF CALIFORNIA

                9                                  FOR THE COUNTY OF LOS ANGELES, CENTRAL

               10

               11
=^   o
u    ^^                 In re the Matter ^f the Estate of                  CASE NO.
Ø    WN        12
^    ^^
     ^^
^    ^ ° ^,     ,
m^ ^ Q ^       1^                                                          NOMINATION OF PERSONAL REPRESENTATIVE,
^^^^Ø                                                                      DECLINATION TO ACT, AND WAKER OP BOND
^ ∆. ^ 4N      14           JOSEPH SI-ILTSTER^ also known as               OF MARK WARREN PEARY
^4^^ ι^
                            JOE SI-TUSTEK
w^^u^
∆. ¢^`^ d      15
Y 4u`-^ ^
U  2 ^^
 ^   ^2        1^
 ^   Od
ςL   ^ c^

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     ^ ^       17                                              Decedent.
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               18

               19               I, DAWN L, PEARY, state and declare as follows:

               20                1.       I am the niece of JOSEPH SHUSTER (the "decedent"), the decedent named herein,

               21       being the daughter ^f the decedent's sister, Jean Adele Peavy. My brother ís Mark Warren Peary.

               22               2.        If the decedent's Will ís not admitted to probate and an Executor thereof ís not

               23       appointed and íf my mother, Jean Adele Peavy, declines to act as personal representative of the

               24       decedent's estate, I am a person entitled to equal priority for appointment as the personal

              25        representative of the decedent's estate with my brother, MARK WARREN PEARY.

                                ^.       If for any reason MARK WAØN PEARY is not appointed by the Court as

                        Executor of the decedent's Will, I hereby nominate MARK WARREN PEØY of Albuquerque,

                        New Mexico, to serve as the personal representative of the decedent's estate without the


                                                                           1
                         NOMINATION OF PERSONAL REPRESENTATIVE, DECLINATION TO ACT, AND WAÍVER OF BOND OF MARK WØREN PEARY




                                                                       EXHIBIT A
                                                                         16
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                     l   réquiremént of any bond, pursuant to the authority provided tó mé under Sections 841 and 845

                         of thé California ^'robate Cade, and I décline tc^ act as such pérsonal représentat^vé.

                   3              4:        My intent in mating thïs nomination is t^^ ensure thé appointment of a person that I

                   4     trust ta serve as thé personal representative of nay ui^ ^^ l ^^ ^ ^; ^::; [ate,

                   S              I declare undér penalty of perjury undér the laws of the State of Caüforr^ia, that the

                         foregoing is true and correct.

                   7              Executéd on                                 , 2QO^, in Él Paso, Téxas.

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                          ÑOMINATION OF PERSONAL REPRESENTATIVE, DECLINATION TO ACT, AND WAIVER OF BOND OF MØK WARREN PEAKY




                                                                             EXHIBIT A
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